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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


EMOJI COMPANY GmbH,

      Plaintiff,
                                                   Case No. 22-cv-3698
v.
                                                   Judge Sharon Johnson Coleman
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

      Defendants.



 PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF A TEMPORARY RESTRAINING
  ORDER, INCLUDING A TEMPORARY INJUNCTION, A TEMPORARY TRANSFER
   OF THE DEFENDANT DOMAIN NAMES, A TEMPORARY ASSET RESTRAINT,
    EXPEDITED DISCOVERY, AND SERVICE OF PROCESS BY EMAIL AND/OR
                       ELECTRONIC PUBLICATION


       Plaintiff, EMOJI COMPANY GmbH (“Plaintiff”), seeks entry of an ex parte temporary

restraining order, including a temporary injunction against Defendants enjoining the

manufacture, importation, distribution, offering for sale, and sale of Counterfeit EMOJI Products,

a temporary transfer of the Defendant Domain Names, a temporary asset restraint, expedited

discovery, and service of process by email and/or electronic publication in an action arising out

of 15 U.S.C. § 1114; Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) and the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510. A Memorandum of Law in Support is

filed concurrently with this Motion.
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                               Respectfully submitted,
Dated: July 18, 2022
                               By:    s/Michael A. Hierl             _
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                                      William B. Kalbac (Bar No. 6301771)
                                      Robert P. McMurray (Bar No. 6324332)
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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

Motion was filed electronically with the Clerk of the Court and served on all counsel of record

and interested parties via the CM/ECF system on July 18, 2022.


                                                     s/Michael A. Hierl




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